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Eastern District of Washington JUN 2.4 2021
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

 

UNITED STATES OF AMERICA,
Plaintiff, 1:20-06044-SMJ
V. INFORMATION SUPERSEDING
CRUZ JAMES SPENCER, INDICTMENT
Defendant. 18 U.S.C. §§ 922(g)(1), 924(a)(2)
Felon in Possession of Firearm

The United States Attorney charges:

On or about February 11, 2020, in the Eastern District of Washington, the
Defendant, CRUZ JAMES SPENCER, knowing of his status as a person
previously convicted of a crime punishable by imprisonment for a term exceeding
one year, did knowingly possess in and affecting interstate and foreign commerce,
a firearm, to wit: a Springfield XD .40 caliber firearm, bearing serial number
US357034, which had theretofore been shipped and transported in interstate and
foreign commerce, in violation of 18 U.S.C. §§ 922(g)(1), 924(a)(2).

NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

Pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), upon conviction
of an offense in violation of 18 U.S.C. §§ 922(g)(1), 924(a)(2), as set forth in this
Information, the Defendant, CRUZ JAMES SPENCER, shall forfeit to the United
States, any firearms and ammunition involved in the commission of the offense,

including but not limited to the following:

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- Springfield XD .40 caliber firearm, bearing serial number US357034.

DATED this 2? day of June, 2021.

AsSistant United States Attorne

 

INFORMATION 2

 
